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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTSVILLE DIVISION
     BABY DOE, et al.,                                       CIVIL NO: 3:22-cv-00049-NKM
                   Plaintiffs,
            -v.-

     JOSHUA MAST, et al.,

                   Defendants,
     and
     UNITED  SECRETARY              OF     STATE
     ANTONY BLINKEN, et al.
                   Nominal Defendants.


                                      [PROPOSED] ORDER

           COMES NOW Defendant Richard Mast, by counsel and upon its Motion for Admission

   Pro Hac Vice of David Yerushalmi, Esq., and UPON CONSIDERATION WHEREOF, the Court

   does ORDER that:

           The Motion is GRANTED. David Yerushalmi, Esq., may appear in this Court as counsel

   for Defendant Richard Mast in the above-captioned case, in association with Edward Scott Lloyd,

   Esq., a member of the Bar of Virginia admitted before this court. Further, that Mr. Yerushalmi

   may appear at hearings or trials in the absence of an associated member pursuant to Local Rule

   6(d).

   DATED: January ___, 2023.



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                                 Hon. Norman K. Moon
                                 Senior United States District Judge



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